Case 2:21-mc-01230-JFC Document 2990 Filed 10/01/24 Page 1of8

FILED

September 24, 2024 OCT 0 1 2024
CLERK U.S, DISTRICT
_ COURT
Respironics Medical Advancement Program WEST DIST OF PENNSYLVANIA

P.O. Box 26288
Richmond, VA 23260 a

Joseph F. Weis, Jr. U.S. Courthouse, a

700 Grant Street
Pittsburgh, PA 15219

Plaintiff's Objection in the matter of:

Inre: Philips Recalled CPAP, BI-LEVEL PAP, and Mechanical Ventilator
Products Litigation, No. 21-mc-1230, MDL 3014, UNITED STATES DISTRICT
COURT FOR THE WESTERN DISTRICT OF PENNSYLVANIA

lam Peter R. Seamon, a resident of Tucson, Arizona, and [ama Plaintiff in

the above captioned matter. I am pro se, and do not intend to Appear at the Final
Fairness Hearing unless accommodation to attend electronically is available. I
suffered Jung injury and illness as a result of breathing in the contaminants that
because the subject of this recall.

I hereby submit Objections to the proposed settlement as the recall was
inadequate and failed to address significant ongoing dangers to the consumer.

I pray the Court review the following information that should have been
considered, and upon consideration of this information, find that the recall and
subsequent settlement is inadequate and failed to address significant ongoing

dangers to the consumer.

— 1/[ Page
Case 2:21-mc-01230-JFC Document 2990 Filed 10/01/24 Page 2 of 8

The specific unit I utilized that was subject to a partial recall is the Philips

Respironics DreamStation CPAP device (see Images herein).

I will get directly to the evidence that the recall was inadequate. I am
providing images herein to illustrate the unaddressed and ongoing danger to the
users of these devices and the continuing risk of inhaling the materials lingering in
contaminated units. This was discovered upon Phillips sending this plaintiff a
replacement component of the DreamStation CPAP unit which housed the fan and
the carcinogenic insulating material.

As illustrated in the photos, the Philips Respironics DreamStation CPAP
device is made up of several components. Straight to the point, the recall is
effective only if the machine was not already contaminated. This plaintiffs unit
was visibly contaminated.

Phillips failed to address and left in possession of the affected consumers the
second component in the DreamMachine CPAP device which housed houses the
water container.

There is a removable and replaceable component that the recall did not
address. That female component accepts the male air outlet (my definition, see
images) from the main portion which contained the fan and carcinogenic insulating
material that was removed as the goal of the recall. However, the removable and

replaceable component which I have labeled as “contaminated part B” is

2|Page
Case 2:21-mc-01230-JFC Document 2990 Filed 10/01/24 Page 3 of 8

configured such that any carcinogenic insulation that was shed from the recalled
portion can become temporarily trapped in that piece which may at any time
become released and breathed into the lungs as it may become dislodged.

Further, as that component provides an offset from the male air outlet to the
port where air is blown over the water tank, its design provides a place for the
carcinogenic particles to become caught and remain until jostled loose again.

That part cannot be opened by the layman or consumer for decontamination
or cleaning, It is plainly removable, however. That part unquestionably should
have been a part of the recall. By leaving that part unaddressed, the Defendant has
left plaintiff/consumers whose machines may have already ben contaminated
subject to ongoing exposure the same danger of inhaling the remaining
carcinogenic particles.

Prayer for Relief:

I implore the Court address this issue and make an informed determination
on the obvious failure and ongoing danger to the consumer if this matter is left
unaddressed.

I find it unimaginable that the learned people involved in examining this
issue did not see this obvious danger, and ask the Court to make the necessary

inquiries to determine if there is bad faith driven by monetary considerations at the

“3| Page
Case 2:21-mc-01230-JFC Document 2990 Filed 10/01/24 Page 4 of 8

center of this failure to address those contaminated components, and issue the

appropriate findings and sanctions. The public Must Be Warned!

ILLUSTRATIONS (Four):

1): Refurbished part connects to contaminated water tank evaporator.

4|Page
Case 2:21-mc-01230-JFC Document 2990 Filed 10/01/24 Page 5 of 8

2): Air intake, this is a removeable portion that IS contaminated and is not
addressed by the recall:

“5 |Page
Case 2:21-mc-01230-JFC Document 2990 Filed 10/01/24 Page 6 of 8

3): View from inside water heater evaporation component, replaceable
component is contaminated and was not part of recall. Danger to user remains.

Case 2:21-mc-01230-JFC Document 2990 Filed 10/01/24 Page 7 of 8

4): This contaminated part MUST be replaced as it traps carcinogen and is not
possible to decontaminate!

End of Images;

For the foregoing reasons, this Court should reject the settlement and order
investigation to address the contaminated components left unaddressed by the
recall as they must certainly be recognized as a clear, present and ongoing danger
to the public.

7|Page
Case 2:21-mc-01230-JFC Document 2990 Filed 10/01/24 Page 8 of 8

Respectfully submitted,

| d K a Up der September 24, 2024

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